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                          EXHIBIT 1
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                       Hearing Date: 2/18/2022 9:30 AM - 9:30 AM                                                              1 11111 1 1 1 11111 1 111 11111 11111 I I11 1111 111 111
                       Courtroom Number: 2502
                       Location: District 1 Court                                                                             *    5 0        1     1    6     1    8    5     *
                               Cook County, IL                                                            FILED
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                                                             IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                                                                          CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT,CHANCERY DIVISION
                                                                                                          COOK COUNTY, IL
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                                                                                                          2021CH05385
                                             BREONNA ANTHONY,individually, and                    )
                                             on behalf of all others similarly situated,                                                15301563
                                                                                                  )
                                                                                                  )
                                                                    Plaintiff,                    )
                                                                                                  )      Case No. 2021CH05385
                                                    V.                                            )
                                                                                                  )
                                             WALMART INC.                                         )
                                                                                                  )
                                                                    Defendant.                    )
                                                                                                  )

                                                                             CLASS ACTION COMPLAINT

                                                    Plaintiff Breonna Anthony ("Anthony" or "Plaintiff'), individually and on behalf of all

                                             others similarly situated (the "Class"), by and through her attorneys, brings the following Class

                                             Action Complaint ("Complaint") pursuant to the Illinois Code of Civil Procedure, 735 ILCS §§

                                             5/2-801 and 2-802, against WALMART,INC ("Walmart" or "Defendant"), its subsidiaries and

                                             affiliates, to redress and curtail Defendant's unlawful collection, use, storage, and disclosure of

                                             Plaintiffs sensitive and proprietary biometric data. Plaintiff alleges as follows upon personal

                                             knowledge as to herself, her own acts and experiences and, as to all other matters, upon information

                                             and belief, including investigation conducted by her attorneys.

                                                                                 NATURE OF THE ACTION

                                                     1.     Defendant, Walmart, is a retail company located in Bentonville, Arkansas and

                                             operates throughout the United States, including Illinois and in this Circuit.

                                                    2.      When Defendant hires an employee, including Plaintiff, he or she is enrolled in its

                                             employee database(s) using a scan of his or her fingerprint. Defendant uses the employee

                                             database(s) to monitor the time worked by its employees.


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                                                    3.      While many employers use conventional methods for tracking time worked (such

                                             as ID badges or punch clocks), Defendant's employees are required, as a condition ofemployment,
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                                             to have their fingerprints scanned by a biometric timekeeping device.

                                                    4.      Biometrics are not relegated to esoteric corners of commerce. Many businesses —

                                             such as Defendant's — and financial institutions have incorporated biometric applications into their

                                             workplace in the form of biometric timeclocks or authenticators, and into consumer products,

                                             including such ubiquitous consumer products as checking accounts and cell phones.

                                                    5.      Unlike ID badges or time cards — which can be changed or replaced if stolen or

                                             compromised — a fingerprint is a unique, permanent biometric identifier associated with each

                                             employee. This exposes Defendant's employees to serious and irreversible privacy risks. For

                                             example, if a database containing fingerprints or other sensitive, proprietary biometric data is

                                             hacked, breached, or otherwise exposed — like in the recent Equifax, Facebook/Cambridge

                                             Analytica, and Suprema data breaches— employees have no means by which to prevent identity

                                             theft, unauthorized tracking or other unlawful or improper use of this highly personal and private

                                             information.

                                                    6.      In 2015, a data breach at the United States Office of Personnel Management

                                             exposed the personal identification information, including biometric data, of over 21.5 million

                                             federal employees, contractors, and job applicants. U.S. Off. of Personnel Mgmt., Cybersecurity

                                             Incidents (2018), available at www.opm.gov/cybersecurity/cybersecurity-incidents.

                                                    7.      An illegal market already exists for biometric data. Hackers and identity thieves

                                             have targeted Aadhaar, the largest biometric database in the world, which contains the personal

                                             and biometric data — including fingerprints, iris scans, and facial photographs — of over a billion

                                             Indian citizens. See Vidhi Doshi, A Security Breach in India Has Left a Billion People at Risk of



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                                             Identity      Theft,   The    Washington      Post     (Jan.    4,     2018),         available                  at

                                             https://www.washingtonpost.com/news/worldviews/wp/2018/01/04/a-security-breach-in-india-
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                                             has-left-a-billion-people-at-risk-of-identity-theft/?utm_term=.b3c70259fi38.

                                                     8.      In January 2018, an Indian newspaper reported that the information housed in

                                             Aadhaar was available for purchase for less than $8 and in as little as 10 minutes. Rachna Khaira,

                                             Rs 500, 10 Minutes, and You Have Access to Billion Aadhaar Details, The Tribune (Jan. 4, 2018),

                                             available at http://www.tribuneindia.cominews/nation/rs-500-10-minutes-and-you-have-access-

                                             to-billion-aadhaar-details/523361 html.

                                                     9.      In August 2019 it was widely reported that Suprema, a security company

                                             responsible for a web-based biometrics lock system that uses fingerprints and facial geometry

                                             scans in 1.5 million locations around the world, maintained biometric data and other personal

                                             information on a publicly accessible, unencrypted database. Major Breach Found in Biometrics

                                             System Used by Banks, UK police and Defence Firms, The Guardian (Aug. 14, 2019), available

                                             at     https://www.theguardian.com/technology/2019/aug/14/major-breach-found-in-biometrics-

                                             system-used-by-banks-uk-police-and-defence-firms.


                                                     10.     In the United States, law enforcement, including the Federal Bureau of

                                             Investigation and Immigration and Customs Enforcement, have attempted to turn states'

                                             Department of Motor Vehicles databases into biometric data goldmines, using facial recognition

                                             technology to scan the faces of thousands of citizens, all without their notice or consent. Drew

                                             Harwell, FBI, ICE Find State Driver's License Photos Are a Gold Minefor Facial-Recognition

                                             Searches, The Washington Post (July 7, 2019), available at https://www.washingtonpost.com/

                                             technology/2019/07/07/fbi-ice-find-state-drivers-license-photos-are-gold-mine-facial-

                                             recognition-searches/?noredirect=on&utm_term=.da9afb2472a9.


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                                                     1 1.   This practice has been criticized by lawmakers. Some states, including Illinois,

                                             have refused to comply with law enforcement's invasive requests. State Denying Facial
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                                             Recognition    Requests,    Jacksonville    Journal-Courier    (July   9,   2019),        available               at

                                             https://www.myjoumalcourier.cominews/article/State-denying-facial-recognition-requests-

                                             14081967.php.

                                                    12.     Recognizing the need to protect its citizens from situations like these, Illinois

                                             enacted the Biometric Information Privacy Act("BIPA"), 740 ILCS § 14/1, et seq., specifically to

                                             regulate companies that collect, store and use Illinois citizens' biometrics, such as handprints.

                                                    13.     Notwithstanding the clear and unequivocal requirements of the law, Defendant

                                             disregards Plaintiff's and other similarly-situated employees' statutorily protected privacy rights

                                             and unlawfully collects, obtains, stores, disseminates, and uses Plaintiff's and other similarly-

                                             situated employees' biometric data in violation of BMA. Specifically, Defendant violated and

                                             continues to violate BIPA because it did not and continues not to:

                                                            a.      Properly inform Plaintiff and others similarly situated in writing of the
                                                                    specific purpose and length of time for which their fingerprints were being
                                                                    collected, obtained, stored, and used, as required by BIPA;

                                                            b.      Provide a publicly available retention schedule and guidelines for
                                                                    permanently destroying Plaintiff's and other similarly-situated employees'
                                                                    fingerprints, as required by BIPA;

                                                            c.      Obtain a written release from Plaintiff and others similarly situated to
                                                                    collect, obtain, store, disseminate, or otherwise use their fingerprints, as
                                                                    required by BIPA; and

                                                            d.      Obtain consent from Plaintiff and others similarly situated to disclose,
                                                                    redisclose, or otherwise disseminate their fingerprints to a third party as
                                                                    required by BLPA.

                                                    14.     Accordingly, Plaintiff, on behalf of herself as well as the putative Class, seeks an

                                             Order:(1) declaring that Defendant's conduct violates BIPA;(2)requiring Defendant to cease the



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                                             unlawful activities discussed herein; and (3) awarding statutory damages to Plaintiff and the

                                             proposed Class.
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                                                                                           PARTIES

                                                     15.     Plaintiff Breonna Anthony is a natural person and a resident ofthe State of Illinois.

                                                     16.     Defendant Walmart is an Illinois corporation that is registered with the Illinois

                                             Secretary of State and conducts business in the State of Illinois, including Cook County.

                                                                              JURISDICTION AND VENUE

                                                     17.     This Court has jurisdiction over Defendant pursuant to 735 ILCS § 5/2-209 because

                                             Defendant is a citizen of Illinois, its principal place of business is in Illinois, and it committed the

                                             statutory violations alleged herein in Cook County, Illinois.

                                                     18.     Venue is proper in Cook County because Defendant conducts business in this State,

                                             conducts business transactions in Cook County, and committed the statutory violations alleged

                                             herein in Cook County, Illinois.

                                                                                FACTUAL BACKGROUND

                                             I.      The Biometric Information Privacy Act.

                                                     19.    In the early 2000s, major national corporations started using Chicago and other

                                             locations in Illinois to test "new applications of biometric-facilitated financial transactions,

                                             including finger-scan technologies at grocery stores, gas stations, and school cafeterias." 740 ILCS

                                             § 14/5(c). Given its relative infancy, an overwhelming portion of the public became weary of this

                                             then-growing yet unregulated technology. See 740 ILCS § 14/5.

                                                     20.    In late 2007, a biometrics company called Pay by Touch, which provided major

                                             retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

                                             transactions,filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature because



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                                             suddenly there was a serious risk that millions of fingerprint records — which, like other unique

                                             biometric identifiers, can be linked to people's sensitive financial and personal data — could now
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                                             be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate

                                             protections for Illinois citizens. The bankruptcy .also highlighted the fact that most consumers who

                                             used the company's fingerprint scanners were completely unaware that the scanners were not

                                             actually transmitting fingerprint data to the retailer who deployed the scanner, but rather to the

                                             now-bankrupt company, and that their unique biometric identifiers could now be sold to unknown

                                             third parties.

                                                         21.   Recognizing the "very serious need [for] protections for the citizens of Illinois

                                             when it [came to their] biometric information," Illinois enacted BIPA in 2008. See Illinois House

                                             Transcript, 2008 Reg. Sess. No. 276; 740 ILCS § 14/5.

                                                         22.   Additionally, to ensure compliance, BIPA provides that, for each violation, the

                                             prevailing party may recover $1,000 or actual damages, whichever is. greater, for negligent

                                             violations and $5,000, or actual damages, whichever is greater, for intentional or reckless

                                             violations. 740 ILCS § 14/20.

                                                         23.   BIPA is an informed consent statute which achieves its goal by making it unlawful

                                             for a company to, among other things, collect, capture, purchase, receive through trade, or

                                             otherwise obtain a person's or a customer's biometric identifiers or biometric information, unless

                                             it first:

                                                               a.     Informs the subject in writing that a biometric identifier or biometric
                                                                      information is being collected, stored and used;

                                                               b.     Informs the subject in writing ofthe specific purpose and length ofterm for
                                                                      which a biometric identifier or biometric information is being collected,
                                                                      stored, and used; and




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                                                             c.      Receives a written release executed by the subject ofthe biometric identifier
                                                                     or biometric information.
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                                             See 740 ILCS § 14/15(b).

                                                     24.     BIPA specifically applies to employees who work in the State of Illinois. BIPA

                                             defines a "written release" specifically "in the context of employment [as] a release executed by

                                             an employee as a condition of employment." 740 ILCS § 14/10.

                                                     25.     Biometric identifiers include retina and iris scans, voiceprints, scans of hand and

                                             face geometry, and — most importantly here — fingerprints. See 740 ILCS § 14/10. Biometric

                                             information is separately defined to include any information based on an individual's biometric

                                             identifier that is used to identify an individual. Id.

                                                     26.     BIPA establishes standards for how companies must handle Illinois citizens'

                                             biometric identifiers and biometric information. See, e.g., 740 ILCS § 14/15(c)-(d). For example,

                                             BIPA prohibits private entities from disclosing a person's or customer's biometric identifier or

                                             biometric information without first obtaining consent for such disclosure. See 740 ILCS §

                                             14/15(d)(1).

                                                    27.      BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person's

                                             biometric identifiers or biometric information (740 ILCS § 14/15(c)) and requires companies to

                                             develop and comply with a written policy — made available to the public — establishing a retention

                                             schedule and guidelines for permanently destroying biometric identifiers and biometric

                                             information when the initial purpose for collecting such identifiers or information has been

                                             satisfied or within three years of the individual's last interaction with the company, whichever

                                             occurs first. 740 ILCS § 14/15(a).

                                                    28.      The Illinois legislature enacted BMA due to the increasing use of biometric data in

                                             financial and security settings, the general public's hesitation to use biometric information, and —


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                                             most significantly — the unknown ramifications of biometric technology. Biometrics are

                                             biologically unique to the individual and, once compromised, an individual is at a heightened risk
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                                             for identity theft and left without any recourse.

                                                    29.     BIPA provides individuals with a private right of action, protecting their right to

                                             privacy regarding their biometrics as well as protecting their rights to know the precise nature for

                                             which their biometrics are used and how they are being stored and ultimately destroyed. Unlike

                                             other statutes that only create a right of action if there is a qualifying data breach, BIPA strictly

                                             regulates the manner in which entities may collect, store, use, and disseminate biometrics and

                                             creates a private right of action for lack of statutory compliance.

                                                    30.     Plaintiff, like the Illinois legislature, recognizes how imperative it is to keep

                                             biometric information secure. Biometric information, unlike other personal identifiers such as a

                                             social security number, cannot be changed or replaced if hacked or stolen.

                                                    Defendant Violates the Biometric Information Privacy Act.

                                                    31.     By the time BIPA passed through the Illinois legislature in mid-2008, most

                                             companies who had experimented with using individuals' biometric data stopped doing so.

                                                    32.     However, Defendant failed to take note of the shift in Illinois law governing the

                                             collection, use, storage, and dissemination of biometric data. As a result, Defendant continues to

                                             collect, obtain, store, use and disseminate its employees' biometric data in violation of BIPA.

                                                    33.     Specifically, when employees are hired, Defendant requires them to have their

                                             fingerprints scanned to enroll them in its employee database(s).

                                                    34.     Defendant uses an employee time tracking system that requires employees to use

                                             fingerprints as a means of authentication. In accordance with Defendant's policy, its employees

                                             are required to use their fingerprints to clock-in and clock-out, recording their time worked.



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                                                     35.    Upon information and belief, Defendant fails to inform its employees that it

                                             discloses or disclosed their fingerprint data to at least one third-party vendor, Defendant's payroll
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                                             vendor, and likely others; fails to inform its employees that it discloses their fingerprint data to

                                             other, currently unknown, third parties, which host the biometric data in their data centers; fails to

                                             inform its employees of the purposes and duration for which it collects their sensitive biometric

                                             data; and, fails to obtain written releases from employees before collecting their fingerprints.

                                                     36.    Defendant fails to publish a written, publicly-available policy identifying its

                                             retention schedule and guidelines for permanently destroying employees' biometric data when the

                                             initial purpose for collecting or obtaining their biometrics is no longer relevant, as required by

                                             BLPA.

                                                     37.    The Pay by Touch bankruptcy that catalyzed the passage of BIPA, as well as the

                                             recent data breaches, highlights why such conduct — where individuals are aware that .they are

                                             providing a fingerprint, but not aware of to whom or for what purposes they are doing so — is

                                             dangerous. That bankruptcy spurred Illinois citizens and legislators into realizing that it is crucial

                                             for individuals to understand when providing biometric identifiers, such as fingerprints, who

                                             exactly is collecting their biometric data, where it will be transmitted, for what purposes, and for

                                             how long. Defendant disregards these obligations and its employees' statutory rights and instead

                                             unlawfully collects, obtains, stores, uses and disseminates its employees' biometric identifiers and

                                             information, without first receiving the individual's informed written consent required by BIPA.

                                                     38.    Upon information and belief, Defendant lacks retention schedules and guidelines

                                             for permanently destroying Plaintiffs and other similarly-situated individuals' biometric data and

                                             has not and will not destroy Plaintiff's and other similarly-situated individuals' biometric data
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                                             when the initial purpose for collecting or obtaining such data has been satisfied or within three

                                             years ofthe employee's last interaction with the company.
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                                                      39.   Defendant does not tell Plaintiff and others similarly situated what might happen to

                                             their biometric data if and when Defendant merges with another company, or worse, if and when

                                             Defendant's business folds, or when the other third parties that have received employees'

                                             biometric data businesses fold.

                                                      40.   Since Defendant neither publishes a BIPA-mandated data retention policy nor

                                             discloses the purposes for its collection and use of biometric data, Defendant's employees have no

                                             idea whether Defendant sells, discloses, rediscloses, or otherwise disseminates their biometric

                                             data. Moreover, Plaintiff and others similarly situated are not told to whom Defendant discloses

                                             their biometric data, or what might happen to their biometric data in the event of a merger or a

                                             bankruptcy.

                                                      41.   These violations raise a material risk that Plaintiff's and other similarly-situated

                                             individuals' biometric data will be unlawfully accessed by third parties.

                                                      42.   By and through the actions detailed above, Defendant disregards Plaintiffs and

                                             other similarly-situated individuals' legal rights in violation of BIPA.

                                             III.     Plaintiff Breonna Anthony's Experience

                                                      43.   Plaintiff Breonna Anthony worked for Walmart as a fitting room attendant from

                                             November 2017 to April 2018 at its facility located at 3900 Fountain Square PI, Waukegan, IL

                                             60085.

                                                      44.   As a condition of her employment, Plaintiff was required to scan her fingerprint so

                                             Defendant could use it as an authentication method to track her time worked, including breaks.

                                                      45.   Defendant stored Plaintiff's fingerprint data in its employee database(s).



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                                                    46.     Plaintiff was required to scan her fingerprint each time she began and ended her

                                             workday, as well as each time she clocked in and out for breaks.
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                                                    47.     Defendant did not inform Plaintiff in writing or otherwise of the purpose(s) and

                                             length of time for which her fingerprint data was being collected and/or obtained, did not receive

                                             a written release from Plaintiff to collect, store, or use her fingerprint data, did not publish a

                                             publicly available retention schedule and guidelines for permanently destroying Plaintiffs

                                             fingerprint data, and did not obtain Plaintiffs consent before disclosing or disseminating her

                                             biometric data to third parties.

                                                    48.     Plaintiff has never been informed of the specific limited purposes or length oftime

                                             for which Defendant collects, obtains, stores, uses and/or disseminates her biometric data.

                                                    49.     Plaintiff has never been informed of any biometric data retention policy developed

                                             by Defendant, nor had she ever been informed of whether Defendant would ever permanently

                                             delete her biometric data.

                                                    50.      Plaintiff has never been provided with nor ever signed a written release allowing

                                             Defendant to collect, obtain, store, use or disseminate her biometric data.

                                                    51.     Plaintiff has continuously and repeatedly been exposed to the risks and harmful.

                                             conditions created by Defendant's multiple violations of BIPA alleged herein.

                                                    52.     No amount of time or money can compensate Plaintiff if her biometric data has

                                             been compromised by the lax procedures through which Defendant captures, obtains, stores, uses,

                                             and disseminates her and other similarly-situated individuals' biometrics. Moreover, Plaintiff

                                             would not have provided her biometric data to Defendant if she had known that Defendant would

                                             retain such information for an indefinite period oftime without her consent.




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       53.     A showing of actual damages is not necessary in order to state a claim under BIPA.

See Rosenbach v. Six Flags Ent. Corp., 2019 IL 123186, ¶ 40 ("[A]n individual need not allege

some actual injury or adverse effect, beyond violation of his or her rights under the Act, in order

to qualify as an "aggrieved" person and be entitled to seek liquidated damages and injunctive relief

pursuant to the Act").

       54.     As Plaintiff is not required to allege or prove actual damages in order to state a

claim under BIPA, she seeks statutory damages under BIPA as compensation for the injuries

caused by Defendant. Rosenbach, 2019 IL 123186,¶ 40.

                                    CLASS ALLEGATIONS

       55.     Pursuant to the Illinois Code of Civil Procedure, 735 ILCS § 5/2-801, Plaintiff

brings claims on her own behalf and as a representative of all other similarly-situated individuals

pursuant to BIPA, 740 ILCS § 14/1, et seg., to recover statutory penalties, prejudgment interest,

attorneys' fees and costs, and other damages owed.

       56.     As discussed supra, Section 14/15(b) of BIPA prohibits a company from, among

other things, collecting, capturing, purchasing, receiving through trade, or otherwise obtaining a

person's or a customer's biometric identifiers or biometric information, unless itfirst(1)informs

the individual in writing that a biometric identifier or biometric information is being collected or

stored;(2)informs the individual in writing ofthe specific purpose(s) and length oftime for which

a biometric identifier or biometric information is being collected, stored, and used; and(3)receives

a written release executed by the subject of the biometric identifier or biometric information. 740

mcs § 14/15.
       57.     Plaintiff seeks class certification under the Illinois Code of Civil Procedure, 735

mcs § 5/2-801, for the following class of similarly-situated individuals under BIPA:

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                                                    All individuals working for Walmart in the State of Illinois who had their finger
                                                    and/or fingerprint scanned, collected, captured, received, or otherwise obtained,
                                                    maintained, stored or disclosed by Defendant during the applicable statutory period.
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                                                    58.     This action is properly maintained as a class action under 735 ILCS § 5/2-801

                                             because:

                                                            A.      The class is so numerous that joinder of all members is impracticable;

                                                            B.      There are questions of law or fact that are common to the class;

                                                            C.      Plaintiff's claims are typical of the claims of the class; and,

                                                            D.      Plaintiff will fairly and adequately protect the interests of the class.

                                                                                         Numerosity

                                                    59.     The total number of putative class members exceeds fifty (50) individuals. The

                                             exact number of class members can easily be determined from Defendant's payroll records.

                                                                                        Commonality

                                                    60.     There is a well-defined commonality of interest in the substantial questions of law

                                             and fact concerning and affecting the Class in that Plaintiff and all members of the Class have been

                                             harmed by Defendant's failure to comply with BIPA. The common questions of law and fact

                                             include, but are not limited to the following:

                                                            A.      Whether Defendant collected, captured, obtained, maintained, stored or
                                                                    otherwise obtained Plaintiff's and the Class members' biometric identifiers
                                                                    or biometric information;

                                                            B.      Whether Defendant properly informed Plaintiffand the Class ofits purposes
                                                                    for collecting, obtaining, using, storing and disseminating their biometric
                                                                    identifiers or biometric information;

                                                            C.      Whether Defendant properly obtained a written release (as defined in 740
                                                                    TLCS § 14/10) to collect, obtain, use, store and disseminate Plaintiff's and
                                                                    the Class members' biometric identifiers or biometric information; •

                                                            D.      Whether Defendant has disclosed or redisclosed Plaintiff's and the Class
                                                                    members' biometric identifiers or biometric information;


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                                                            E.      Whether Defendant has sold, leased, traded, or otherwise profited from
                                                                    Plaintiffs and the Class members' biometric identifiers or biometric
                                                                    information;
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                                                            F.      Whether Defendant developed a written policy, made available to the
                                                                    public, establishing a retention schedule and guidelines for permanently
                                                                    destroying biometric identifiers and biometric information when the initial
                                                                    purpose for collecting or obtaining such identifiers or information has been
                                                                    satisfied or within three years of its last interaction with the individual,
                                                                    whichever occurs first;

                                                            G.      Whether Defendant complies with any such written policy (if one exists);

                                                            H.      Whether Defendant's violations of BIPA have raised a material risk that
                                                                    Plaintiffs and the putative Class members' biometric data will be
                                                                    unlawfully accessed by third parties;

                                                            I.      Whether Defendant used Plaintiffs and the Class members' fingerprints to
                                                                    identify them;

                                                            J.      Whether the violations of BIPA were committed negligently; and

                                                            K.      Whether the violations of BIPA were committed intentionally or recklessly.

                                                    61.     Plaintiff anticipates that Defendant will raise defenses that are common to the class.

                                                                                          Adequacy

                                                    62.     Plaintiff will fairly and adequately protect the interests of all members of the class,

                                             and there are no known conflicts of interest between Plaintiff and class members. Plaintiff,

                                             moreover, has retained experienced counsel who are competent in the prosecution of complex

                                             litigation and who have extensive experience acting as class counsel.

                                                                                         Typicality

                                                    63.     The claims asserted by Plaintiff are typical of the class members she seeks to

                                             represent. Plaintiff has the same interests and suffers from the same unlawful practices as the class

                                             members.

                                                    64.     Upon information and belief, there are no other class members who have an interest



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                                             individually controlling the prosecution of his or her individual claims, especially in light of the

                                             relatively small value of each claim and the difficulties involved in bringing individual litigation
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                                             against one's employer. However, if any such class member should become known, he or she can

                                             "opt out" of this action pursuant to 735 1LCS § 5/2-801.

                                                                              Predominance and Superiority

                                                    65.     The common questions identified above predominate over any individual issues,

                                             which will relate solely to the quantum of relief due to individual class members. A class action is

                                             superior to other available means for the fair and efficient adjudication ofthis controversy because

                                             individual joinder ofthe parties is impracticable. Class action treatment will allow a large number

                                             of similarly-situated persons to prosecute their common claims in a single forum simultaneously,

                                             efficiently and without the unnecessary duplication of effort and expense if these claims were

                                             brought individually. Moreover, as the damages suffered by each class member are relatively small

                                             in the sense pertinent to class action analysis, the expenses and burden of individual litigation

                                             would make it difficult for individual class members to vindicate their claims.

                                                    66.     Additionally, important public interests will be served by addressing the matter as

                                             a class action. The cost to the court system and the public for the adjudication of individual

                                             litigation and claims would be substantially more than if claims are treated as a class action.

                                             Prosecution of separate actions by individual class members would create a risk of inconsistent

                                             and varying adjudications, establish incompatible standards of conduct for Defendant and/or

                                             substantially impair or impede the ability of class members to protect their interests. The issues in

                                             this action can be decided by means of common, class-wide proof In addition, if appropriate, the

                                             Court can and is empowered to fashion methods to efficiently manage this action as a class action.




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                                                                               FIRST CAUSE OF ACTION

                                               Violation of 740 ILCS § 14/15(a): Failure to Institute, Maintain and Adhere to Publicly-
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                                                                            Available Retention Schedule

                                                    67.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                    68.     BEPA mandates that companies in possession of biometric data establish and

                                             maintain a satisfactory biometric data retention — and, importantly, deletion — policy. Specifically,

                                             those companies must: (i) make publicly available a written policy establishing a retention

                                             schedule and guidelines for permanent deletion of biometric data (at most three years after the

                                             company's last interaction with the individual); and (ii) actually adhere to that retention schedule

                                             and actually delete the biometric information. See 740 ILCS § 14/15(a).

                                                    69.     Defendant fails to comply with these BEM mandates.

                                                    70.     Defendant qualifies as a "private entity" under BIPA. See 740 LLCS § 14/10.

                                                    71.     Plaintiff and the Class are individuals who have had their "biometric identifiers"

                                             collected and/or obtained by Defendant(in the form of their fingerprints), as explained in detail in

                                             Sections II and III, supra. See 740 ILCS § 14/10.

                                                    72.     Plaintiff's and the Class members' biometric identifiers were used to identify them

                                             and, therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS § 14/10.

                                                    73.     Defendant failed to publish a publicly available retention schedule or guidelines for

                                             permanently destroying biometric identifiers and biometric information as specified by BIPA. See

                                             740 ILCS § 14/15(a).

                                                    74.     Upon information and belief, Defendant lacks retention schedules and guidelines

                                             for permanently destroying Plaintiff's and the Class members' biometric data and has not and will

                                             not destroy Plaintiff's or the Class members' biometric data when the initial purpose for collecting




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                                             or obtaining such data has been satisfied or within three years of the individual's last interaction

                                             with the company.
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                                                    75.     On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)

                                             injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

                                             requiring Defendant to comply with BIPA's requirements for the collection, storage, and use of

                                             biometric identifiers and biometric information as described herein; (3) statutory damages of

                                             $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS § 14/20(2) or,

                                             in the alternative, statutory damages of $1,000 for each negligent violation of BMA pursuant to

                                             740 mcs § 14/20(1); and (4) reasonable attorneys' fees and costs and other litigation expenses

                                             pursuant to 740 ILCS § 14/20(3).

                                                                          SECOND CAUSE OF ACTION
                                             Violation of 740 ILCS § 14/15(b): Failure to Obtain Informed Written Consent and Release
                                                               Before Obtaining Biometric Identifiers or Information

                                                    76.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                    77.     BIPA requires companies to obtain informed written consent from individuals

                                             before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity

                                             to `collect, capture, purchase, receive through trade, or otherwise obtain a person's or a customer'

                                             biometric identifiers or biometric information unless [the entity]first:(1)informs the subject...in

                                             writing that a biometric identifier or biometric information is being collected or stored;(2)informs

                                             the subject...in writing of the specific purpose and length of term for which a biometric identifier

                                             or biometric information is being collected, stored, and used; and (3) receives a written release

                                             executed by the subject of the biometric identifier or biometric information..." 740 ILCS §

                                             14/15(b)(emphasis added).

                                                    78.     Defendant fails to comply with these BIPA mandates.



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                                                     79.     Defendant qualifies as a "private entity" under BIPA. See 740 ILCS § 14/10.

                                                     80.     Plaintiff and the Class are individuals who have had their "biometric identifiers"
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                                              collected and/or obtained by Defendant(in the form .of their fingerprints), as explained in detail in

                                              Sections II and III, supra. See 740 ILCS § 14/10.

                                                     81.     Plaintiff's and the Class members' biometric identifiers were used to identify them

                                              and, therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS § 14/10.

                                                     82.     Defendant systematically and automatically collected, used, stored and

                                              disseminated Plaintiffs and the Class members' biometric identifiers and/or biometric information

                                              without first obtaining the written release required by 740 ILCS § 14/15(b)(3).

                                                     83.     Defendant did not inform Plaintiff and the Class in writing that their biometric

                                              identifiers and/or biometric information were being collected, stored, used and disseminated, nor

                                              did Defendant inform Plaintiff and the Class in writing of the specific purpose(s) and length of

                                              term for which their biometric identifiers and/or biometric information were being collected,

                                              stored, used, and disseminated as required by 740 ILCS § 14/15(b)(1)-(2).

                                                     84.     By collecting, storing, and using Plaintiffs and the Class members' biometric

                                              identifiers and biometric information as described herein, Defendant violated Plaintiffs and the

                                              Class members' rights to privacy in their biometric identifiers or biometric information as set forth

                                              in BIPA. See 740 ILCS § 14/1, et seq.

                                                     85.     On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)

                                              injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

                                              requiring Defendant to comply with BIPA's requirements for the collection, storage, and use of

                                              biometric identifiers and biometric information as described herein; (3) statutory damages of

                                              $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS § 14/20(2) or,



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                                             in the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to

                                             740 ILCS § 14/20(1); and (4) reasonable attorneys' fees and costs and other litigation expenses
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                                             pursuant to 740 ILCS § 14/20(3).

                                                                                THIRD CAUSE OF ACTION
                                                           Violation of 740 ILCS § 14/15(d): Disclosure of Biometric Identifiers and
                                                                            Information Before Obtaining Consent

                                                    86.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                    87.     BIPA prohibits private entities from disclosing a person's or customer's biometric

                                             identifier or biometric information without first obtaining consent for that disclosure. See 740

                                             ILCS § 14/15(d)(1).

                                                    88.     Defendant fails to comply with this BIPA mandate.

                                                    89.     Defendant qualifies as a "private entity" under BIPA. See 740 ILCS § 14/10.

                                                    90.     Plaintiff and the Class.are individuals who have had their "biometric identifiers"

                                             collected and/or obtained by Defendant(in the form of their fingerprints), as explained in detail in

                                             Sections II and III, supra. See 740 ELCS § 14/10.

                                                    91.     Plaintiff's and the Class members' biometric identifiers were used to identify them

                                             and, therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS § 14/10.

                                                    92.     Defendant systematically and automatically disclosed, redisclosed, or otherwise

                                             disseminated Plaintiff's and the Class members' biometric identifiers and/or biometric information

                                             without first obtaining the consent required by 740 ILCS § 14/15(d)(1).

                                                    93.     By disclosing, redisclosing, or otherwise disseminating Plaintiff's and the Class

                                             members' biometric identifiers and biometric information as described herein, Defendant violated

                                             Plaintiff's and the Class members' rights to privacy in their biometric identifiers or biometric

                                             information as set forth in BIPA. See 740 ILCS § 14/1, et seq.



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                                                    94.     On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)

                                             injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
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                                             requiring Defendant to comply with BMA's requirements for the collection, storage, use and

                                             dissemination of biometric identifiers and biometric information as described herein;(3) statutory

                                             damages of $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS §

                                             14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent violation of BIPA

                                             pursuant to 740 ILCS § 14/20(1); and(4)reasonable attorneys' fees and costs and other litigation

                                             expenses pursuant to 740 ILCS § 14/20(3).

                                                                                  PRAYER FOR RELIEF

                                                    Wherefore, Plaintiff Breonna Anthony respectfully requests that this Court enter an Order:

                                                    A.      Certifying this case as a class action on behalf of the Class defined above,
                                                            appointing Plaintiff Breonna Anthony as Class Representative, and appointing
                                                            Stephan Zouras, LLP, as Class Counsel;

                                                    B.      Declaring that Defendant's actions, as set forth above, violate BIPA;

                                                    C.      Awarding statutory damages of $5,000 for each intentional and/or reckless
                                                            violation of BIPA pursuant to 740 ILCS § 14/20(2) or, in the alternative, statutory
                                                            damages of $1,000 for each negligent violation of BIPA pursuant to 740 ELCS §
                                                            14/20(1);

                                                    D.      Declaring that Defendant's actions, as set forth above, were intentional and/or
                                                            reckless;

                                                    E.      Awarding injunctive and other equitable relief as is necessary to protect the
                                                            interests of Plaintiff and the Class, including an Order requiring Defendant to
                                                            collect, store, use and disseminate biometric identifiers and/or biometric
                                                            information in compliance with BIPA;

                                                    F.      Awarding Plaintiff and the Class their reasonable attorneys' fees and costs and
                                                            other litigation expenses pursuant to 740 ILCS § 14/20(3);

                                                    G.      Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent
                                                            allowable; and,

                                                            Awarding such other and further relief as equity and justice may require:


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                                             Date: October 21, 2021                      Respectfully Submitted,
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                                                                                         /s/Ryan F. Stephan
                                                                                         Ryan F. Stephan
                                                                                         James B. Zouras
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                                                                                         ATTORNEYS FOR PLAINTIFF




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                                                                             CERTIFICATE OF SERVICE

                                                    I, the attorney, hereby certify that on October 21, 2021, I electronically filed the attached
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                                             with the Clerk of the Court using the electronic filing system which will send such filing to all

                                             attorneys of record.



                                                                                                   /s/Ryan F. Stephan




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                      Case Information Summary for Case Number
                                    2021-CH-05385

Filing Date: 10/21/2021                                       Case Type: CLASS ACTION
Division: Chancery Division                                   District: First Municipal
Ad Damnum: $0.00                                              Calendar: 13
                                      Party Information

Plaintiff(s)                                                  Attorney(s)
ANTHONY BREONNA                                               STEPHAN ZOURAS LLP
                                                              100 N RIVERSIDE PLAZ
                                                              CHICAGO IL, 60606
                                                              (312) 233-1550
Defendant(s)                     Defendant Date of Service    Attorney(s)
WALMART, INC.

                                        Case Activity

Activity Date: 10/21/2021                                 Participant: ANTHONY   BREONNA
                              CLASS ACTION COMPLAINT FILED
          Court Fee: 388.00                               Attorney: STEPHAN ZOURAS LLP


Activity Date: 10/21/2021                                 Participant: ANTHONY   BREONNA
                        CASE SET ON CASE MANAGEMENT CALL
              Date: 02/18/2022                               Judge: DEMACOPOULOS, ANNA
        Court Time: 0930                                            HELEN
       Court Room: 2502                                   Attorney: STEPHAN ZOURAS LLP


Activity Date: 10/26/2021                                 Participant: ANTHONY   BREONNA
                            SUMMONS ISSUED AND RETURNABLE
                                                          Attorney: STEPHAN ZOURAS LLP


Activity Date: 11/04/2021                                                         Participant:

                   MOTION SCHEDULED (MOTION COUNTER ONLY)
              Date: 11/29/2021                            Attorney: STEPHAN ZOURAS LLP
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        Court Time: 1000


Activity Date: 11/04/2021                                  Participant: ANTHONY   BREONNA
                   ***CERTIFY CLASS(SET FOR MOTION HEARING)
                                                          Attorney: STEPHAN ZOURAS LLP


Activity Date: 11/04/2021                                  Participant: ANTHONY   BREONNA
                                     EXHIBITS FILED
                                                          Attorney: STEPHAN ZOURAS LLP


Activity Date: 11/04/2021                                  Participant: ANTHONY   BREONNA
                                 NOTICE OF MOTION FILED
                                                          Attorney: STEPHAN ZOURAS LLP


Activity Date: 11/05/2021                                        Participant: WALMART,       INC.
                                  SUMMONS - RETD P.S.
              Date: 10/29/2021


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